   Case: 1:18-cv-07686 Document #: 851 Filed: 12/15/20 Page 1 of 2 PageID #:8183




                      UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT
                             EASTERN DIVISION
____________________________________
                                     )
IN RE: LION AIR FLIGHT JT            )
610 CRASH                            ) Lead Case No. 18 CV 7686
                                     ) Honorable Thomas M. Durkin
___________________________________ )

                        [PROPOSED] ORDER APPOINTING TRUSTEE

       On December 14, 2020, the Court entered a civil contempt against the law firm of

GIRARDI KEESE (“GK”) and THOMAS GIRARDI, individually. The Court asked the parties

to submit a proposed order as to the appointment of a Trustee [DKT 848] and freezing assets

[DKT 849]. After finding THOMAS GIRARDI and GK in civil contempt of Court, the Court

asked the parties for a proposed order appointing a trustee.

       Per the Court’s order, we spoke with Jay Edelson and other attorneys at Edelson PC in an

effort to reach an agreement as to the Proposed Order. Because we believe that Edelson PC’s

proposed order goes well beyond the scope of what was ordered by this Court, we were unable to

reach an agreement as to all matters of the Proposed Order. As such, we provide our Proposed

Order below, which more accurately reflects the orders of the Court [DKTs 848, 849].

       We do agree with Mr. Edelson’s recommendation that Judge James F. Holderman serve

as trustee. However, we wish to advise the Court that we are uncertain whether GK can marshal

the funds required to pay a trustee. Because we want to protect Judge Holderman from Court

appointment without any hope of compensation, it may be in the parties’ best interest to appoint

a California trustee.

       IT IS HEREBY ORDERED THAT

   1. A judgment of civil contempt is entered against GK and THOMAS GIRARDI.
Case: 1:18-cv-07686 Document #: 851 Filed: 12/15/20 Page 2 of 2 PageID #:8184




2. All assets of GK and THOMAS GIRARDI (collectively, the “Girardi Assets”) are frozen

   until further order of this Court.

3. Judge James F. Holderman, of JAMS Mediation, Arbitration, ADR Services is appointed

   to serve as Court-ordered Trustee for GK and THOMAS GIRARDI.

4. The Trustee shall evaluate and determine the assets available to GK and THOMAS

   GIRARDI and determine the amounts available for the benefit of the plaintiffs.

5. The Trustee shall reasonably and promptly inform THOMAS GIRARDI of the maximum

   amount THOMAS GIRARDI may spend from the Girardi Assets on reasonable living

   expenses.

6. Any payment of attorneys representing GK and/or THOMAS GIRARDI, from the assets

   of GK and/or THOMAS GIRARDI, shall be made only with the approval of the Trustee.

7. This Order shall be effective immediately upon its entry.



IT IS SO ORDERED



Dated:                                          ____________________________________
                                                Thomas M. Durkin
                                                United States District Judge
